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                Exhibit 3
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From:              Denae Kassotis
To:                Juli Haller
Cc:                Edward Caspar; Claire O"Brien; Joshua Margolin
Subject:           RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)
Date:              Thursday, July 21, 2022 6:23:00 PM


Counsel –

We appreciate your position concerning Mr. Meggs’ criminal trial. However, we believe that this is a
good time to hold a 26(f) conference, since Mr. Meggs’ criminal trial is still two months away and we
thus have the flexibility to accommodate adjustments necessitated by the criminal litigation.

We are open to discussing an adjusted timeline for your initial disclosures, as well as any issues
relating to the protective order in the criminal case, at the conference.

Below please find dial-in information for the Rule 26(f) conference.

Many thanks in advance,
Denae



Microsoft Teams meeting
Join on your computer or mobile app
Click here to join the meeting
Or join by entering a meeting ID
Meeting ID: 220 369 397 314
Passcode: L26FCK
Or call in (audio only)
+1 332-249-0622,,497508951# United States, New York City
Phone Conference ID: 497 508 951#
Find a local number | Reset PIN
Learn More | Meeting options
________________________________________________________________________________


Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
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From: Juli Haller <HallerJulia@outlook.com>
Sent: Wednesday, July 20, 2022 2:06 PM
To: Denae Kassotis <dkassotis@selendygay.com>


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Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Claire O'Brien <cobrien@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Hi Denae,

My concern is that the 26(f) conference requires preparation, initial disclosures, and a Report about
a Discovery Plan that would be due within 14 days. The government’s case is full of hundreds of
hours of video and the electronic discovery that required months of preparation by Deloitte, etc.
The criminal case is not a simple case. That’s the reason I am saying the two right now would be an
undue burden at this time.  

Moreover, we are subject to a protective order regarding the government’s discovery, so potentially
deciphering what may be produced for Initial Disclosures will be no simple request. I will then have
to seek a protective order, and the criminal case may be exempt from any required disclosures
anyway under R. 26(1)(B)(vii).

Thanks for your consideration.

Juli Haller

From: Denae Kassotis <dkassotis@selendygay.com>
Sent: Wednesday, July 20, 2022 1:33 PM
To: Juli Haller <HallerJulia@outlook.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Claire O'Brien <cobrien@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel –

We appreciate that you were recently added as defense counsel in Mr. Meggs’ criminal case. But, at
this point, Plaintiffs are only proposing a 26(f) conference, which should not take more than two
hours of your time. We do not think that creates an undue burden, especially because the criminal
trial is not set to begin for another two months.

Many thanks,

Denae Kassotis
Associate [Email]
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From: Juli Haller <HallerJulia@outlook.com>
Sent: Wednesday, July 20, 2022 12:37 PM


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To: Denae Kassotis <dkassotis@selendygay.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>; Claire O'Brien <cobrien@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Hi Denae,

The challenge I have is that we have a criminal trial currently scheduled for Mr. Meggs on September
26th. My co-counsel and I were only recently added as his defense counsel in the criminal case, and
I ask because of the undue burden because we are currently in trial prep. I would request your
consent to extending or to the filing of a Motion for the time for a Rule 26(f) conference. If the trial
date in the criminal case should get continued, I would let you know. Please let me know if you
would consent.   

Best,

Juli Haller


From: Denae Kassotis <dkassotis@selendygay.com>
Sent: Wednesday, July 20, 2022 10:40 AM
To: Juli Haller <HallerJulia@outlook.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>; Claire O'Brien <cobrien@selendygay.com>
Subject: Re: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel -

There is no rule that prevents us from proceeding with a Rule 26(f) conference while a dispositive
motion is pending, and consistent with our obligation under Rule 26(f) to hold the conference as
soon as practicable, we intend to move forward with the conference.

Many thanks,

Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC  [Web]
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From: Juli Haller <HallerJulia@outlook.com>
Sent: Tuesday, July 19, 2022 3:10:55 PM
To: Denae Kassotis <dkassotis@selendygay.com>


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Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>; Claire O'Brien <cobrien@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Hi sorry, I got back from vacation late last week. I’m confused, has the court ruled on the Motions?
Our answers won’t be due until after the court rules assuming the court denies the motions per Rule
12(a)(4)(A). So the Answer isn’t due yet? We can’t proceed to a rule 26(f) conference until
Defendants have answered?

Best,

Juli



From: Denae Kassotis <dkassotis@selendygay.com>
Sent: Tuesday, July 19, 2022 2:57 PM
To: Juli Haller <HallerJulia@outlook.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>; Claire O'Brien <cobrien@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel,

Following up on the below, please advise if you are available to participate in a 26(f) conference on
July 28th from 2-4pm. Thank you.

All best,

Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
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From: Denae Kassotis
Sent: Thursday, July 14, 2022 4:05 PM
To: Juli Haller <HallerJulia@outlook.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>; Claire O'Brien <cobrien@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel –



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Please advise if you are available to participate in a 26(f) conference on July 28th from 2-4pm. Thank
you.

All best,

Denae Kassotis
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Selendy Gay Elsberg PLLC [Web]
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From: Juli Haller <HallerJulia@outlook.com>
Sent: Wednesday, June 22, 2022 5:33 PM
To: Denae Kassotis <dkassotis@selendygay.com>
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>
Subject: RE: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Hi, I can be available early next week, but I leave for vacation on Wednesday abroad, so I can only be
available by computer July 1 – July 16. After July 16th I can probably be available for the rest of the
month.

Best,

Juli Haller
Counsel for Kelly Meggs

From: Denae Kassotis <dkassotis@selendygay.com>
Sent: Wednesday, June 22, 2022 5:19 PM
To: hallerjulia@outlook.com
Cc: Edward Caspar <ecaspar@lawyerscommittee.org>; Joshua Margolin
<jmargolin@selendygay.com>
Subject: Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.)

Counsel,

Please see the attached correspondence.

Many thanks,

Denae Kassotis
Associate [Email]
Selendy Gay Elsberg PLLC [Web]


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